                                UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION-FLINT

  IN RE:       Timothy D. Kiesling                   CHAPTER 13
                                                     CASE NO: 14-31778-DOF
                                                     JUDGE: Daniel S. Opperman
                    Debtor
___________________________________/

        STIPULATION ADJOURNING THE CHAPTER 13 TRUSTEE’S MOTION TO DISMISS

        NOW COMES Carl L. Bekofske, Standing Chapter 13 Trustee and Debtor, by and through his counsel,
Stipulate as follows:

         IT IS HEREBY STIPULATED that Chapter 13 Trustee’s Motion to Dismiss shall be adjourned to August
18th, 2015 at 9:00 a.m.

        IT IS FURTHER STIPULATED that the Debtor’s Counsel shall serve a copy the entered order on the
Debtor and any interested parties as applicable within 7 days.




/s/ Carl L. Bekofske                                        /s/ Lynn Osborne
Carl L. Bekofske P10645                                     Lynn Osborne P66545
Melissa Caouette P62729                                     Attorney for Debtor
Leo J. Foley, Jr. P76060                                    401 W Ionia Street
Chapter 13 Standing Trustee                                 Lansing, MI 48933
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            ORDER ADJOURNING THE CHAPTER 13 TRUSTEE’S MOTION TO DISMISS

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                                                 Exhibit A




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